                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA                             *
                                                     *
        v.                                           *
                                                     * Criminal No. CCB-20-17
ROBERT HANKARD                                       *
                                                  *******


     CONSENT MOTION TO MODIFY ORDER SETTING CONDITIONS OF RELEASE

        The Defendant, Robert Hankard, through counsel, Jonathan P. Van Hoven, hereby requests

that the current Order Setting Conditions of Release be modified, and in support of this request,

respectfully represents the following:

1.    On or about January 15, 2029, this Honorable Court issued an Order Setting Conditions of

Release.

2. The Order currently restricts the Defendant’s travel to Maryland and the surrounding states.

3. Counsel has conferred with U.S. Pretrial Services and has verified that the Defendant has been in

full compliance with all conditions of his release.

4. The Defendant is respectfully requesting that the Court modify the conditions of release in order

to be permitted to return to his own home.

5. Counsel has furthermore conferred with Leo Wise, Esq., who has stated that the Government is

not opposed to this request in light of the affidavit that is attached as Exhibit 1 and provided to U.S.

Pretrial Services that sufficiently accounts for all firearms that were previously in his possession.

6. Counsel has also conferred with U.S. Pretrial Officer Jessica Weisman who also does not object

to this request if it is approved by the Court.


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        WHEREFORE, the Defendant respectfully requests that this Honorable Court:

        A. Modify the conditions of release in order to allow for the Defendant to return to his own

home.

        B. Grant such further relief as the nature of this request may require.

                                              Respectfully submitted,
                                                             /s/

                                              ____________________________________
                                              Jonathan P. Van Hoven
                                              One North Charles Street
                                              Suite 1215
                                              Baltimore, MD 21201
                                              (410) 576-0689


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 10th day of March, 2020, the foregoing Consent Motion

To Modify Order Setting Conditions of Release was filed via ECF.

                                                             /s/

                                              ____________________________________
                                              Jonathan P. Van Hoven




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